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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

JOSÉ “JOE” M. LOPEZ D/B/A MAZZ               §
                                             §
       Plaintiff                             §
v.                                           §              CIVIL ACTION NO._______
                                             §
ANNA LISA GONZALEZ                           §              JURY TRIAL DEMANDED
                                             §
       Defendant.                            §

                                  ORIGINAL COMPLAINT

       COMES NOW Plaintiff, José “Joe” M. Lopez d/b/a Mazz, and brings this action to

enjoin Defendant’s, Anna Lisa Gonzalez, unauthorized use of Lopez’s trademark and business

name, Mazz. Plaintiff seeks preliminary and permanent injunctive relief and damages under the

laws of the United States and the State of Texas; and alleges on knowledge as to himself and his

own acts, and on information and belief on all other matters, as follows:

                         I. BACKGROUND AND INTRODUCTION

       1.      This is an action at law and equity for trademark infringement and dilution, false

designation of origin, and unfair competition arising under the Trademark Act of 1946, 15

U.S.C. §§ 1051 et seq. (“Lanham Act”) and the anti-dilution laws of the State of Texas and the

common law.

       2.      Plaintiff, José “Joe” M. Lopez d/b/a Mazz, is a Tejano singer, songwriter, and

performer. In 1978, he founded the Grammy-award winning Tejano band, Mazz, a/k/a Grupo

Mazz. During his tenure as the lead singer and frontman of Mazz, the group became one of the

most popular and best selling Tejano musical acts— particularly known for its innovative form

of Tejano cumbia.




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       3.      Defendant, Anna Lisa Gonzalez, is the alleged widow of a former Mazz band

member, Jimmy Gonzalez. Mr. Gonzalez is deceased, and his date of death is June 6, 2018.

Upon information and belief, Mr. Gonzalez died intestate, and his Estate has not been probated.

Regardless, Mr. Gonzalez had no proprietary rights in or to the name or mark Mazz preceding

his death, and he neither sought nor secured a trademark for Mazz.

       4.      Plaintiff received a registration for the Mazz trademark on February 28, 2017

(Registration No. 5148809), and applied for registration of the Mazz service mark on June 13,

2018 (Serial No. 87961188). Throughout the registration process, Plaintiff continued his use and

exploitation of mark, as he has done continuously for the past 40 years. A sampling of Plaintiff’s

musical albums using the Mazz trademark is attached hereto as Exhibit A; see also the

Declaration of Joe Lopez attached hereto as Exhibit B at ¶ 2.

       5.      In or around May 2019, Plaintiff noticed that his trademark was considered

“dead” or “abandoned” per the United States Patent and Trademark Office’s (USPTO)

Trademark Electronic Search System (TESS). Id. at ¶ 4. His manager, Sandra Vallejo, was later

contacted by someone with the USPTO who confirmed that registration of the trademark was

challenged by a competing person, “Anna Gonzalez” (Defendant). Id.

       6.      Apparently, Defendant filed a petition with the Trademark Trial and Appeal

Board contesting Plaintiff’s ownership of the trademark. However, neither Plaintiff nor Ms.

Vallejo ever received notice of this challenge to the registration or a threat of cancellation. Id. at

¶ 5. Thus, Plaintiff did not receive an opportunity to respond to Defendant’s contest of his

registration. Id. Default judgment was entered against Plaintiff on April 16, 2019, and his

registrations were subsequently cancelled (Cancellation No. 92070319).




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       7.      Plaintiff was denied his right to due process and unfairly deprived of his right to

respond to Defendant’s challenge of his mark. Thus, on May 21, 2019, he filed a petition to the

Director of the USPTO requesting that the default judgment be set aside. Id. Since this related to

a “dispositive matter,” the petition was denied. However, it was forwarded to an interlocutory

attorney for consideration as a request for relief from entry of a default judgment. To date, the

interlocutory attorney has not rendered an opinion, and the matter remains pending.

       8.      Defendant filed a competing trademark registration for Jimmy Gonzalez Y Grupo

Mazz (Serial No. 86785685) (the “Infringing Mark”) in Class 9 and Class 41. The application

was published for opposition in the Official Gazette on June 18, 2019, and Plaintiff timely filed

Notice of Opposition on June 19, 2019.

       9.      On July 29, 2019, Defendant filed a Motion to Dismiss Plaintiff’s opposition

based on claim preclusion—stemming from the unjust and unconstitutional cancellation of the

Mazz trademark. Because the Motion relied on matters outside of the pleading, the Trademark

Trial and Appeal Board converted it to a Motion for Summary Judgment. Plaintiff timely filed a

response to the Motion to Dismiss, which to date remains pending.

       10.     Due to Plaintiff’s prior and superior use of the name and mark, and Defendant’s

aggressive posturing, efforts to strip Plaintiff of his long-held intellectual property rights, and

attempts to claim ownership in a mark to which she has absolutely no rights, Plaintiff is forced to

commence this action and protect his valuable, famous, and well-known trademark. Mazz.

       11.     The Mazz name and mark clearly satisfies all requirements that qualify it as

famous and distinctive, considering: 1) the duration, extent, and geographical reach of the

publicity of the mark; and 2) the amount, volume, and geographic extent of the services offered

under the mark.



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                                          II. PARTIES

        12.    Plaintiff, JOSÉ “JOE” M. LOPEZ D/B/A MAZZ, is an individual residing in

Cameron County, Texas.

        13.    On information and belief, Defendant, ANNA LISA GONZALEZ, is an

individual residing in Cameron County, Texas.

                              III. JURISDICTION AND VENUE

        14.    This is a complaint for trademark infringement, trademark dilution, and unfair

competition under the Trademark Act of 1964, 15 U.S.C. §§ 1051, et seq., as amended (the

“Lanham Act”), for common law trademark infringement and unfair competition, and for

trademark dilution under the laws of the State of Texas, per Tex. Bus. & Com. Code §§ 16.102-

103.

        15.    This Court has original subject jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. §§ 1331 and 1338 and 15 U.S.C. §§ 1116 and 1121. This Court has supplemental

jurisdiction over state law claims under 28 U.S.C. § 1367.

        16.    This Court has personal jurisdiction over Defendant, as she resides and conducts

business in the Southern District of Texas.

        17.    Venue is appropriate in this judicial district under 28 U.S.C. § 1391 in that

Defendant is subject to personal jurisdiction in this judicial district, and this is the District in

which events giving rise to the claims at issue occurred.

                                 IV. STATEMENT OF FACTS

        18.    Defendant has no colorable interest or ownership rights in and to the name

Mazz—including the name Jimmy Gonzalez y Grupo Mazz— which she is attempting to

register. See Exhibit B at ¶ 6. She certainly has no claim that pre-dates Plaintiff’s ownership and



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long-standing use of the mark. She never was, and is not currently, a member of Mazz. Id. at ¶ 6.

She had no role in creating or performing any of the sound recordings produced by Mazz. She

has never participated in any of Mazz’s live performances. Id.

       19.     Further, Defendant has not shown she has any rights in and to the name derived

from former band member, Jimmy Gonzalez. She has neither proved nor provided any evidence

of her marriage to Mr. Gonzalez, or rights in intestate succession. Even if Defendant could prove

such facts, which she cannot, Mr. Gonzalez himself had no proprietary or ownership rights in the

name Mazz.

       20.     It is important to note that Plaintiff actually owned the trademark for Mazz with

no issue or contest for two years. When Plaintiff initially registered the Mazz trademark, Mr.

Gonzalez was still alive. Yet, interestingly enough, Mr. Gonzalez did not protest or file any

challenge to Plaintiff’s claim of ownership. Further, only Plaintiff has ever paid royalty taxes

received from royalties accrued under the Mazz name and mark—even during the time when Mr.

Gonzalez was alive.

       21.     Defendant filed a trademark and service mark application for live and musical

performances under the Infringing Mark, Jimmy Gonzalez y Grupo Mazz. However, she has no

real way of actually providing such services. Mr. Gonzalez is deceased and cannot provide any

entertainment services. Defendant, as previously stated, has no affiliation with the band Mazz

and has never performed or recorded with it. Thus, it is clear that Defendant is attempting to

benefit from the death of Mr. Gonzalez and simultaneously strip Plaintiff of the benefits of his

life’s work.

       22.     Unfortunately, Plaintiff’s success as a musician and songwriter attracts

opportunists seeking to take advantage of Mazz’s popularity and name recognition. In this case,



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Defendant is actively exploiting Plaintiff’s name and reputation for her own financial gain.

Plaintiff’s and Defendant’s use of the name and mark “Mazz” in analogous in the following

respects:

                                         Applicant                            Petitioner
                                   (Anna Lisa Gonzalez- Δ)                  (Joe Lopez- Π)
        Trademark               Jimmy Gonzalez Y Grupo Mazz          Mazz

       Type of Mark             Trademark and Service Mark           Trademark and Service Mark

            Services            Entertainment rendered by a          Entertainment services in the
                                musical       group,      namely,    nature of live musical
                                entertainment in the nature of       performances; Entertainment
                                live     visual    and       audio   services in the nature of
                                performances by a musical            presenting    live    musical
                                group; Providing an Internet         performances; Entertainment,
                                website      for    entertainment    namely, live performances by
                                purposes in the field of music;      a musical band
                                entertainment services, namely,
                                live, televised and move
                                appearances by a musical group

             Goods              Musical sound recordings; pre-       Compact    discs    featuring
                                recorded CDs, video tapes, laser     music;     digital     music
                                disks and DVDs featuring             downloadable     from     the
                                music; downloadable audio and        Internet
                                video recordings featuring music

  Purchasers/Costumers          Tejano music fans                    Tejano music fans

            Location            Physical       location       in     Physical      location    in
                                Brownsville, Texas; national and     Brownsville, Texas; national
                                international reach via online       and international reach via
                                presence                             online presence

    Advertising Media           Website; social media                Website; social media



       23.      Defendant’s competing use of Plaintiff’s name and mark interferes with Plaintiff’s

ability to use and exploit his own intellectual property, which has been in use since 1978.

Particularly, since these competing marks are both used in the small, niche Tejano music market,

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Defendant’s mark creates confusion in the marketplace. Fans, record companies, and

contemporaries in the market have all expressed belief that the groups performing under the

mark are related or interconnected in some way.

       24.     Defendant’s competing use of Plaintiff’s name and mark causes significant,

ongoing financial and reputational damage to Plaintiff, as the parties are now in direct

competition for live and online or digital performances and product production. It hinders

Plaintiff’s ability to contract with vendors, venues, and record or recording companies, who

require clear ownership of the mark for their business endeavors. In addition, it dilutes the value

of Plaintiff’s pre-existing sound recordings and products, as it creates a cloud of uncertainty over

the quality and origin of the same.

                                      V. CAUSES OF ACTION

                              A. FIRST CLAIM FOR RELIEF
                         (Trademark Infringement- 15 U.S.C. § 1114)

       25.     Plaintiff hereby realleges and restates the allegations set forth in Paragraphs 1

through 24, supra, as though fully set forth herein.

       26.     Plaintiff uses the name and mark Mazz in all aspects of performing, producing,

managing, and marketing his business and activities throughout Texas, nationally and

internationally, and online.

       27.     Plaintiff’s name and mark and the goodwill associated with it throughout Texas,

nationally and internationally, and online are of great and significant value, are highly distinctive

and arbitrary, and have become associated in the public mind with Plaintiff’s musical

performances, sound recordings, and compositions.




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       28.     Defendant had and has actual and constructive knowledge of Plaintiff’s ownership

and rights in his name and mark prior to her infringing use of the mark “Mazz” and her attempt

to register a substantially similar mark with the USPTO.

       29.     Nevertheless, Defendant adopted and continues to use Plaintiff’s name and mark,

or a name and mark confusingly similar thereto, in commerce—despite full knowledge of

Plaintiff’s superior rights. Defendant has actual knowledge that her infringing use of Plaintiff’s

name and mark causes confusion, mistake, and deception in the marketplace.

       30.     In fact, Defendant intended to cause such confusion, mistake, and deception in an

attempt to ride the coattails and capitalize on Plaintiff’s success and recognition in the Tejano

music market throughout Texas, nationally and internationally, and online. Defendant offers

goods and services under the infringing market in the same channel of trade as those in which

Plaintiff’s legitimate goods and services are offered.

       31.     Defendant’s infringing use of Plaintiff’s mark in connection with musical

performances and sound recordings, specifically in the Tejano music industry, is likely to cause,

and has caused, confusion, mistake, and deception as to Defendant’s affiliation, connection, or

association with Plaintiff, in violation of 15 U.S.C. § 1114.

       32.     Defendant’s actions constitute knowing, deliberate, and willful infringement of

Plaintiff’s name and mark. The knowing and intentional nature of the acts set forth herein render

this an exceptional case under 15 U.S.C. § 1117(a).

       33.     As a result of Defendant’s infringement, Plaintiff has suffered substantial

damages, as well as the ongoing and continuing loss of goodwill and reputation established in

Plaintiff’s name and mark in Texas, nationally and internationally, and online. This ongoing and

continuing loss of goodwill cannot be properly calculated and, thus, constitutes irreparable harm



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and injury for which Plaintiff has no adequate remedy at law. Plaintiff will continue to suffer

from such harm unless and until the Court enjoins Defendant’s conduct.

                              B. SECOND CLAIM FOR RELIEF
                       (False Designation of Origin- 15 U.S.C. § 1125(a))

       34.      Plaintiff hereby realleges and restates the allegations set forth in Paragraphs 1

through 33, supra, as though fully set forth herein.

       35.      Plaintiff has an established reputation throughout Texas, nationally and

internationally, and online, as a Tejano musician and performer. Defendant willfully and

deliberately attempted to capitalize on the long-standing and hard-earned goodwill in Plaintiff’s

name and mark by passing off her products and merchandise, including albums and sound

recordings, as those of Plaintiff’s or otherwise affiliated with Plaintiff.

       36.      Defendant’s unauthorized and intentionally tortious conduct was intended to and

does create confusion among consumers and influences public perception of Plaintiff’s services

and merchandise—as well as the history of the mark in the Tejano music industry. Her wrongful

actions deprive Plaintiff of the ability to control consumer perceptions of his musical catalog and

offerings, as the Mazz reputation is now entangled with that of Defendant’s and her (presumed)

deceased husband.

       37.      Defendant’s intentional conduct causes confusion, mistake, or deception as to

association of the origin and her affiliation or connection with Plaintiff’s name and mark. This is

a violation of the Lanham Act, 15 U.S.C. § 1117(a).

       38.      Defendant’s intentional actions constitute knowing, deliberate, and willful

infringement of Plaintiff’s mark. The knowing and intentional nature of the acts set forth herein

render this an exceptional case under 15 U.S.C. § 1117(a).




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       39.     As a result of Defendant’s infringement, Plaintiff has suffered substantial

damages, as well as the ongoing and continuing loss of goodwill and reputation established in

Plaintiff’s name and mark in Texas, nationally and internationally, and online. This ongoing and

continuing loss of goodwill cannot be properly calculated and, thus, constitutes irreparable harm

and injury for which Plaintiff has no adequate remedy at law. Plaintiff will continue to suffer

from such harm unless and until the Court enjoins Defendant’s conduct.

                               C. THIRD CLAIM FOR RELIEF
                       (False Designation of Origin- 15 U.S.C. § 1125(a))

       40.     Plaintiff hereby realleges and restates the allegations set forth in Paragraphs 1

through 39, supra, as though fully set forth herein.

       41.     Plaintiff’s name and mark is famous and distinctive and is entitled to protection

against dilution by blurring or tarnishment.

       42.     Defendant commenced use of the Mazz name in commerce after Plaintiff’s name

and mark became famous and distinctive.

       43.     Through her intentional, unauthorized use of Plaintiff’s name in connection with

Tejano music performances, both live and digital, sound recordings, and merchandise,

throughout the State of Texas and online, Defendant intended to and did deceive consumers as to

the nature, quality, and origin of her goods and services.

       44.     In addition, Defendant injured and continues to injure Plaintiff’s business

reputation, and has tarnished the distinctive quality of Plaintiff’s famous name. Defendant has

lessened the capacity of Plaintiff’s name to identify and distinguish Plaintiff’s services, including

both live and digital performances, and sound recordings, in violation of 15 U.S.C. § 1125(c).

       45.     As a result of Defendant’s infringement, Plaintiff has suffered substantial

damages, as well as the ongoing and continuing loss of goodwill and reputation established in

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Plaintiff’s name and mark in Texas, nationally and internationally, and online. This ongoing and

continuing loss of goodwill cannot be properly calculated and, thus, constitutes irreparable harm

and injury for which Plaintiff has no adequate remedy at law. Plaintiff will continue to suffer

from such harm unless and until the Court enjoins Defendant’s conduct.

                             D. FOURTH CLAIM FOR RELIEF
                           (Common Law Trademark Infringement)

         46.   Plaintiff hereby realleges and restates the allegations set forth in Paragraphs 1

through 45, supra, as though fully set forth herein.

         47.   Plaintiff worked hard and invested a significant amount of time, talent, energy,

and finances in order to create valuable good will in the subject name and mark—Mazz. Due to

Plaintiff’s efforts, Mazz is widely recognized as one of the premier Tejano musical acts in the

world.

         48.   Defendant’s unauthorized use of Plaintiff’s name permits Defendant to capitalize

on Plaintiff’s success and popularity in the musical industry in general, and the more niche

Tejano music industry, specifically. Defendant’s wrongful actions have caused, and continue to

cause, confusion as to the origin or sponsorship of her services and goods—including live

performances and sound recordings and albums. Defendant has been unjustly enriched by her

actions, which harm Plaintiff.

         49.   Defendant’s acts constitute willful infringement of Plaintiff’s exclusive rights in

the Mazz name and mark, in violation of Texas common law.

         50.   As a result of Defendant’s infringement, Plaintiff has suffered substantial

damages, as well as the ongoing and continuing loss of goodwill and reputation established in

Plaintiff’s name and mark in Texas, nationally and internationally, and online. This ongoing and

continuing loss of goodwill cannot be properly calculated and, thus, constitutes irreparable harm

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and injury for which Plaintiff has no adequate remedy at law. Plaintiff will continue to suffer

from such harm unless and until the Court enjoins Defendant’s conduct.

                               E. FIFTH CLAIM FOR RELIEF
                              (Common Law Unfair Competition)

       51.     Plaintiff hereby realleges and restates the allegations set forth in Paragraphs 1

through 50, supra, as though fully set forth herein.

       52.     Defendant has willfully and deliberately attempted to capitalize on Plaintiff’s

good will and reputation with respect to the services and goods—including live performances

and sound recordings and albums—she provides in the larger music industry, and specifically in

the Tejano music industry. In addition, Defendant has sought to create, and has created,

confusion in the marketplace by publicizing and endorsing performances of various Tejano

performers under the Mazz name and banner, which have absolutely no affiliation or relation to

Plaintiff’s long-standing and pre-existing group, Mazz.

       53.     Defendant’s actions falsely suggest a connection between these “imposter groups”

and Plaintiff. She has misled, and continues to mislead, the consuming public as to the source,

origin, sponsorship, or approval of her performances, business, services, and goods. Defendant

has committed unfair competition in violation of Texas common law.

       54.     As a result of Defendant’s infringement, Plaintiff has suffered substantial

damages, as well as the ongoing and continuing loss of goodwill and reputation established in

Plaintiff’s name and mark in Texas, nationally and internationally, and online. This ongoing and

continuing loss of goodwill cannot be properly calculated and, thus, constitutes irreparable harm

and injury for which Plaintiff has no adequate remedy at law. Plaintiff will continue to suffer

from such harm unless and until the Court enjoins Defendant’s conduct.




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                              F. SIXTH CLAIM FOR RELIEF
             (Dilution under Texas State Law- Tex. Bus. & Com. Code § 16.103)

       55.     Plaintiff hereby realleges and restates the allegations set forth in Paragraphs 1

through 54, supra, as though fully set forth herein.

       56.     The Mazz name and mark is famous and distinctive in and throughout Texas

within the meaning of Tex. Bus. & Com. Code § 16.103, and is entitled to protection from

dilution. In addition, Plaintiff has a considerable, distinctive, and long-running national,

international, and online presence that gives him his distinction from other Tejano groups

throughout the State of Texas and, indeed, the world.

       57.     Defendant has no pre-existing claim to the mark. Defendant commenced use of

Plaintiff’s name and mark after the name and mark became famous and distinctive.

       58.     Defendant’s infringement of Plaintiff’s name and mark dilutes the distinctive

quality of the name and mark. Defendant’s infringement was done with the willful intent to trade

on Plaintiff’s history, goodwill, and reputation and to cause dilution of Plaintiff’s name and

mark. Defendant’s aforesaid acts are in knowing and willful violation of Plaintiff’s rights under

Chapter 16 of the Texas Business & Commerce Code.

       59.     As a result of Defendant’s infringement, Plaintiff has suffered substantial

damages, as well as the ongoing and continuing loss of goodwill and reputation established in

Plaintiff’s name and mark in Texas, nationally and internationally, and online. This ongoing and

continuing loss of goodwill cannot be properly calculated and, thus, constitutes irreparable harm

and injury for which Plaintiff has no adequate remedy at law. Plaintiff will continue to suffer

from such harm unless and until the Court enjoins Defendant’s conduct.

                               VI. DEMAND FOR JURY TRIAL

       60.     Plaintiff hereby demands a trial by jury

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                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, José “Joe” M. Lopez d/b/a Mazz,

respectfully requests judgment in his favor, and against Defendant, Anna Lisa Gonzalez, on all

of the above causes of action as follows:


           1. That this Court preliminarily and permanently enjoin Defendant, her officers,
              agents, servants, employees, attorneys, and all other persons in active concert or
              participation with any of them:

                   a. From using in any manner the Mazz name or mark, or any other name or
                      mark that is confusingly similar to the Mazz name or mark, including but
                      not limited to the Infringing Mark, Jimmy Gonzalez y Grupo Mazz, that is
                      likely to cause confusion, deception, or mistake in the marketplace;

                   b. From committing any acts calculated to cause consumers to believe that
                      Defendant’s services, products, merchandise, performances, or sound
                      recordings are provided, offered, or sold under the control or supervision
                      of Plaintiff, or are sponsored by, approved by, connected with, or
                      guaranteed by Plaintiff;

                   c. From further diluting and infringing the Mazz name and mark and
                      damaging Plaintiff’s reputation and goodwill;

                   d. From otherwise unfairly competing with Plaintiff in any manner; and

                   e. From conspiring with, aiding, assisting, or abetting any other person or
                      business entity in engaging or performing any of the activities referred to
                      above;

           2. That this Court enter a judgment finding that Defendant has infringed upon, and
              willfully infringed upon, the Mazz name and mark;

           3. That this Court enter a judgment finding that Defendant has diluted, and willfully
              diluted, the Mazz name and mark;

           4. That this Court enter a judgment finding that Defendant’s use of the Infringing
              Mark has caused and/or is likely to cause confusion among the general purchasing
              public as to the source or origin of the Infringing Service or Merchandise;

           5. That this Court enter a judgment finding that Defendant’s use of the Infringing
              Mark has caused and/or is likely to cause initial interest and post-sale confusion
              among the general purchasing public as to the source or origin of the Infringing
              Service or Merchandise;

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    6. That this Court enter a judgment that the use or proposed use of Defendant’s
       Infringing Mark (Jimmy Gonzalez y Grupo Mazz; serial no. 86785685) causes
       confusion or is likely to cause confusion with the Mazz name and mark, dilutes
       the distinctive quality of the Mazz name and mark, and is likely to cause dilution
       of the distinctive quality of the Mazz name and mark;

    7. That this Court order withdrawal and abandonment of Defendant’s attempts to
       register the Infringing Mark (Jimmy Gonzalez y Grupo Mazz; serial no.
       86785685) with the United States Patent and Trademark Office;

    8. That this Court certify the above orders to the Director of the United States Patent
       and Trademark Office so the Director may make an appropriate entry upon the
       records of the United States Patent and Trademark Office pursuant to the Lanham
       Act, 15 U.S.C. § 1119;

    9. That this Court order Defendant to deliver up for destruction, or show proof of
       destruction of: any and all products, sound recordings, records or albums,
       advertisements, apparel, posters or advertisements, and written and digital
       publications, including postings on social media, that depict, advertise, or
       otherwise reference the names and marks covered by this Court’s judgment;

    10. That this Court order Defendant to file with the Court and to serve upon Plaintiff
        a report in writing and under oath setting forth in detail the manner and form in
        which Defendant has complied with any injunction resulting from this matter
        within thirty (30) days after service of such injunction;

    11. That this Court award Plaintiff such damages, compensatory and otherwise, as the
        proof may show; and

    12. That this Court award Plaintiff reasonable and necessary attorneys’ fees and costs
        incurred in connection with this action.
 Plaintiff seeks such other and further relief to which he may prove himself justly entitled.




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                               Respectfully submitted.

                               SHOWALTER LAW FIRM

                               By: __/s/ David W. Showalter_________________
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                               D/B/A MAZZ




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